Case 2:20-cv-00966-NR Document 62 Filed 07/13/20 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR : Civil Action
PRESIDENT, INC., et al, ‘

Plaintiffs,
No.: 2:20-cv-966
Vv.

KATHY BOOCKVAR, ef al,

Defendants. : Judge J. Nicholas Ranjan

ENTRY OF APPEARANCE FOR LAWRENCE COUNTY BOARD OF ELECTIONS

Kindly enter my appearance on behalf of Lawrence County Board of Elections, Defendant

in the above-captioned case,
Respectfully submitted,

Date: July 13, 2020 /s/ Thomas W. Leslie
Thomas W. Leslie, Esq.,
County Solicitor
Lawrence County Board of Elections
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